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     IN TH E UNITED STATES DISTRICT CO URT FOR TH E SO UTH ERN
          D ISTR IC T O F FLO R ID A W EST PA LM BE A C H D IV ISIO N

                                  CASE N O .12-80364-CIV-M AR RA/BM N NON

 JO H N K O RM AN                            )
PrivateAttorney G eneral,                    )                                 D,
                                                                                C,
                                 Petitioner, )             FILED ty
                    V.                       )                 Nûk 2s 2212
                                             )                  STEVENM.LARIMORE
A U R O R A LO A N SER V IC ES L LC ;                            ct
                                                                 s.El
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                                                                    .o,tlFSLSœs'
                                                                               rtc
                                                                             .-w,R's.
                                                                                   c
                                             )
OFFICE OF CE0 ,AND PRES OF AUROM ;)
AUROM BANK FSB;                              )
M ERSCORP HOLDING S,INC;                     )
M ORTGAGE ELECTRONIC                         )
REGISTM TION SYSTEM S INC;                   )
LEHM AN XS TRUST 2006-11;                    )
LASALLE BANK N.A.asTRUSTEE;                  )
U.S.BANCORP assuccessorTRUSTEE;              )
A SSOC IATES LAND TITLE INC ;
TH EOD OR E SCH U LTZ,lndividual'    ,
LAUR A M CCANN,lndividual;
C Y N T H IA W A LLA C E,Individual;
JOA NN R EIN ,lndividual;
LA W O FFIC E O F D A V ID J.STER N P.A .;
D A V ID JA M E S ST ER N ,Esquire;
K AR O L S.PIERCE,Esquire;
CASSAND M M CIN E-R IG AUD,Esquire;
M ISTY BARNES,Esquire;
D A R LIN E D IETZ,N otary;
JO H N D O E 1 - 100;
JA N E D O E 1 - 100;
                                             )
                                 Defendants. )
                                            /
             PLA IN TIFF'S N O TICE O F V OLUNTARY DISM ISSA L
                           W ITH OUT PREJUD ICE
      PUR SUANT TO FEDEM L RULE O F CIV IL PRO CEDUR E 41fa)(1)


KORM AN vAUROM A 4.                Page 1 of3
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            PLEA SE TA K E N O TIC E thatJO HN K O RM AN Petitioner,orPlaintiff,

pursuantto FederalRule ofCivilProcedttre41(a)(l),hereby voluntarily dismissesa11
claimsin thisactionwithoutprejudiceastoDefendants,AURORA LOAN SERVICES
LLC ,O FFICE O F CEO ,AND PRES OF AUR OM ,AURO M               BANK FSB,

M ERSCO RP H O LD ING S,INC ,M OR TGA G E ELECTRO NIC R EG ISTM TIO N

SY ST EM S IN C ,L EH M A N X S TR U ST 2006-11,LA SA L LE BA N K N .A .as

TRU STEE,U.S.BANCOR P as successorTRU STEE,ASSO CIATES LAND TITLE

INC,TH EOD ORE SCH ULTZ,lndividual,LAUM            M CCANN,Individual,

CYNTH IA W ALLAC E,Individual,JO AN N R EIN,lndividual,LAW O FFICE O F

D A V ID J.ST ER N P.A .,D A V ID JA M E S ST ER N ,Esquirw K AR O L S.PIER C E,

Esquire,CA SSA N D M    M C IN E-R IG A U D ,Esquire,M IST Y BA R N ES,Esquire,

DA R LIN E D IETZ,N otary;

           FederalRuleofCivilProcedure4l(a)(1)provides,in relevantpart:(a)
VoluntaryDismissal.(1)By the'llfllflF (A)Withouta CourtOrder.SubjecttoRules
23(e),23.1(c),23.2,and 66 and any applicablefederalstatute,theplaintiffmay dismiss
an actionwithoutacourtorderbytiling:(i)anoticeofdismissalbeforetheopposing
party serveeitheran answeroramotion forsummaryjudgment.Defendantshavenot
answered,norfiledamotion forsummaryjudgment.




KORM AN vAURORA & a1.               Page 2 of3
Case 9:12-cv-80364-KAM Document 79 Entered on FLSD Docket 11/27/2012 Page 3 of 3




Accordingly,thismattermay bedismissedwithoutprejudiceandwithoutan Orderofthe
Court.

Respectfully submitted;                                                               Nx

                                             By:
                                                   JO     K RM AN


                           CERTIFICATE OF SERVICE

T H E U N D ER SIG N ED H ER E BY C ER T IFIES thata true and oorrectcopy of
PLM N TIFF'S N O TICE O F V O LU N TA R Y D ISV SSA L W ITH O U T PR EJU D ICE
PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 4l(a)(l)hereofhasbeen
forwarded,to the following partiesvia e-m ail,
                                             '
hr is.solomon@briA leymorgan.com
Stacy.schwm z@briA leymorgan.com
SpencerTew /st@ tewlaw.com
Steven Ellison/sellison@broadandcassel.com
LeonR.M argules/marguleslaw@yahoo.com
on this26thday ofN ovem ber, 2012.

                                                                       John K orm an
                                                                    934 SW 2lStw ay
                                                            Boca Raton,Florida 33486
                                                                      (561)393-0773
                                                             kormanzool@ comcast.net
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                                                             John K orm an



KORM AN vAUROM a a1.                  Page 3 of3
